               Case 19-11689-JTD           Doc 186      Filed 08/23/19      Page 1 of 3



                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re                                                    Chapter 11
THG Holdings LLC, et al.,                                Case No. 19-11689 (JTD)

                        Debtors.1                        Jointly Administered

                    NOTICE OF PROPOSED SALE OF ALL OR
             SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS, FREE
         AND CLEAR OF ALL ENCUMBRANCES, OTHER THAN ASSUMED
    LIABILITIES, AND SCHEDULING FINAL SALE HEARING RELATED THERETO

PLEASE TAKE NOTICE OF THE FOLLOWING:

        On July 30, 2019, the above-captioned debtors and debtors in possession (the “Debtors”)
filed a motion (the “Sale Motion)” with the United States Bankruptcy Court for the District of
Delaware (the “Court”) seeking entry of two orders, in stages: (i) first, an order (the “Bidding
Procedures Order”) (a) approving Bidding Procedures for the sale of all or substantially all of the
Debtors’ assets (the “Purchased Assets”), (b) approving procedures for the assumption and
assignment of designated executory contracts and unexpired leases (collectively, the
“Transferred Contracts”), and the sale and transfer of other designated contracts, (c) scheduling
the Auction and Sale Hearing,2 (d) approving forms and manner of notice of respective dates,
times, and places in connection therewith, and (e) granting related relief (collectively, the
“Bidding Procedures Relief”), and (ii) second, an order (the “Sale Order”) (a) authorizing the
Sale of the Purchased Assets free and clear of all liens, claims, interests and other encumbrances
(collectively, “Encumbrances”), other than Assumed Liabilities, to the Successful Bidder
submitting the highest or otherwise best bid, (b) authorizing the assumption and assignment of
the Transferred Contracts, and authorizing the sale and transfer of other designated contracts, and
(c) granting certain related relief.

     I.     Bidding Procedures; Stalking Horse Bidder

        On August 22, 2019, the Bankruptcy Court entered the Bidding Procedures Order [D.I.
175], thereby approving the Bidding Procedures Relief and the Debtors’ ability to designate a
Stalking Horse Bidder in the Debtors’ business judgment (upon consultation with Consultation
Parties). Upon designating a Stalking Horse Bidder, the Debtors may seek expedited relief from
the Bankruptcy Court to obtain approval of any Bid Protections (as defined in the Bidding

1
 The Debtors in these cases, along with the last four digits of each Debtors’ federal EIN, are as follows:
THG Holdings LLC (8292); True Health Group LLC (9158); True Health Clinical LLC (5272); True
Health Diagnostics LLC (9452); True Health IP LLC (5427); Outreach Management Solutions LLC d/b/a
True Health Outreach (9424); Health Core Financial LLC d/b/a True Health Financial (6614). The
Debtors’ mailing address is 3803 Parkwood Blvd, Suite 400, Frisco, Texas 75034.
2
 Capitalized terms used but not defined herein shall have such meanings ascribed to them in the Sale
Motion and the Bidding Procedures, as applicable.
              Case 19-11689-JTD        Doc 186     Filed 08/23/19    Page 2 of 3




Procedures) for the Stalking Horse Bidder. In order for a Potential Bidder’s bid to be considered
to participate in the Auction, it must comply with the Bidding Procedures, including that its
bid must be delivered, so as to be received on or before 4:00 p.m. (prevailing Eastern Time),
on September 13, 2019 (the “Bid Deadline”), to the Debtors’ investment banker: SSG
Advisors, LLC, Five Tower Bridge, Suite 420 300 Barr Harbor Drive, West Conshohocken, PA
19428      Attn: J. Scott Victor and Teresa Kohl, (Telephone: (610) 940-1094; email:
jsvictor@ssgca.com and tkohl@ssgca.com), with copies provided contemporaneously to counsel
to the Debtors: Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market St., Suite 1600,
Wilmington, Delaware 19801, Attn: Derek C. Abbott and Curtis S. Miller (Telephone: (302)
658-9200; email: dabbott@mnat.com and cmiller@mnat.com); (ii) counsel to Monroe Capital
Management Advisors, LLC, in its capacity as a prepetition lender and administrative agent
under the Debtors’ debtor-in-possession financing facility, Proskauer Rose LLP, One
International Place, Boston, MA 02110-2600, Attn: Chad Dale (Telephone: (617) 526-9600;
email: CDale@proskauer.com) and (iii) counsel to the Committee, Cooley LLP, 55 Hudson
Yards, New York, NY 10001, Attn: Richard S. Kanowitz (Telephone: (212) 479-6167; email:
rkanowitz@cooley.com) (collectively, the “Notice Parties”).

        To receive copies of the (i) Sale Motion, all other exhibits to the Sale Motion, and/or a
confidentiality agreement to become a Potential Bidder (as defined below), or (ii) a copy of the
Form Purchase Agreement or Stalking Horse Bidder Purchase Agreement, as applicable, kindly
submit a request in writing (email and facsimile requests are acceptable) to (a) the Debtors’
counsel: Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market St., Suite 1600, Wilmington,
Delaware 19801, Attn: Derek C. Abbott and Curtis S. Miller (Telephone: (302) 658-9200; email:
dabbott@mnat.com and cmiller@mnat.com) and/or (b) the Debtors’ investment banker: SSG
Advisors, LLC, Five Tower Bridge, Suite 420 300 Barr Harbor Drive, West Conshohocken, PA
19428     Attn: J. Scott Victor and Teresa Kohl, (Telephone: (610) 940-1094; email:
jsvictor@ssgca.com and tkohl@ssgca.com). Additionally, the Sale Motion and the exhibits
thereto are available at https://dm.epiq11.com/TrueHealth or those with PACER accounts may
download copies from the Bankruptcy Court’s website at https://ecf.deb.uscourts.gov/. In order
for Potential Bidders to obtain access to the Debtors’ dataroom, each Potential Bidder must first
sign and deliver a confidentiality agreement to the Debtors and provide certain financial data,
which must be acceptable to the Debtors. Please refer to the Bidding Procedures for further
information concerning submitting a Qualified Bid to participate at the Auction.

   II.     Sale Hearing and Closing

        The Sale Hearing is scheduled for September 20, 2019, at 1:30 p.m. (prevailing Eastern
Time) at the United States Bankruptcy Court for the District of Delaware, United States
Courthouse, 824 Market Street North, 3rd Floor, Wilmington, DE 19801, before the Honorable
John T. Dorsey, United States Bankruptcy Judge. The Sale Hearing is being held to approve the
highest or otherwise best offer received for the Purchased Assets at the Auction, which, if any,
will take place at the offices of Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market St., Suite
1600, Wilmington, Delaware 19801, on September 17, 2019, commencing at 10:00 a.m.
(prevailing Eastern Time). The Sale Hearing may be adjourned or rescheduled with prior notice
filed on the docket of the Debtors’ Chapter 11 Cases or without prior notice by an announcement



                                               2
              Case 19-11689-JTD         Doc 186      Filed 08/23/19     Page 3 of 3




of the adjourned date at the Sale Hearing. The closing on the Sale with the Successful Bidder
shall occur not later than September 30, 2019.

     THE DEADLINE TO OBJECT TO THE DEBTORS’ REQUEST TO APPROVE
THE SALE OF THE PURCHASED ASSETS FREE AND CLEAR OF ALL
ENCUMBRANCES (OTHER THAN THE ASSUMED LIABILITIES) (EACH, A “SALE
OBJECTION”) IS SEPTEMBER 13, 2019, at 4:00 P.M. (PREVAILING EASTERN
TIME) (THE “SALE OBJECTION DEADLINE”).

        Any person or entity wishing to submit a Sale Objection must do so in writing and state
with particularity the grounds for such objections or other statements of position. All Sale
Objections shall be served so as to be actually received by no later than the Sale Objection
Deadline by (i) counsel to the Debtors: Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market
St., Suite 1600, Wilmington, Delaware 19801, Attn: Derek C. Abbott and Curtis S. Miller
(Telephone: (302) 658-9200; email: dabbott@mnat.com and cmiller@mnat.com); (ii) the Office
of the United States Trustee for the District of Delaware, 844 King Street, Suite 2207,
Wilmington, DE 19801, Attn: Jane M. Leamy Esq. (Telephone: (302) 573-6491 email:
Jane.M.Leamy@usdoj.gov); and (iii) those parties who have filed notices of appearance and/or
requested service of all motions and pleadings in these Chapter 11 Cases prior to the date of
service thereof.

        The failure of any person or entity to file and serve a Sale Objection on or before the Sale
Objection Deadline (i) shall be deemed a consent to the Sale to the Successful Bidder and the
other relief requested in the Sale Motion, and (ii) shall be a bar to the assertion, at the Sale
Hearing or thereafter, to the Sale Motion, the Auction, the sale of the Purchased Assets
(including in any such case, without limitation, the transfer of the Purchased Assets free and
clear of all Encumbrances, other than the Assumed Liabilities); provided, however, any party in
interest may raise an objection at the Sale Hearing solely with respect to the outcome of the
Auction.

   III.    Debtors’ Contracts and Leases

       The Sale Order, if approved, shall authorize the assumption and assignment of the
Transferred Contracts of the Debtors. In accordance with the Bidding Procedures Order,
individual notices setting forth the specific Transferred Contracts to be assumed by the Debtors
and assigned to the Successful Bidder, or sold and transferred to the Successful Bidder, and the
proposed Cure Amounts for such contracts will be given to all counterparties to the Transferred
Contracts. Such counterparties will be given the opportunity to object to the assumption and
assignment, or sale and transfer, of a Transferred Contract and the proposed Cure Amount.

        This Notice is subject to the full terms and conditions of the Bidding Procedures and the
Bidding Procedures Order, which shall control in the event of any conflict. The Debtors
encourage all persons to review such documents and all other Sale-related documents in their
entirety and to consult an attorney if they have questions or want advice.

Dated: August 22, 2019
       Wilmington, Delaware                                                         13046800.2


                                                 3
